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IN THE UNITED STATES DISTR_ICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION

STEPHENAND KATHRHVBROWN,

Plaintiffs,
No. 4216-cv-00755-AGF

V.

KIA MOTORS AMERICA, INC. a
subsidiary of KIA MOTORS
CORPORATION, KIA MOTORS
]\MNUFACTURING GEORGIA, INC.
and KIA MUTORS CORPORA TION

Defendants.

JOINT MOTION TO AMEND SCHEDULING ORDER DEADLINES

COME NOW the parties, by and through their undersigned attorneys, and for their Joint
Motion to Amend Scheduling Order Deadlines, state as follows:

l. The Court entered an Amended Scheduling Order in this matter on February 16,
2017 Wherein Plaintiffs’ expert Were to be deposed by Novernber 1, 2017, Defendants’ expert
disclosures Were due December 1, 2017, Defendants’ expert depositions Were due January 2,
2018, Plaintiffs’ rebuttal expert disclosures Were due January 16, 2018, and discovery to close on
January 31, 2018.

2. Trial is set in this matter for June 11, 2018.

3. Plaintiffs’ expert depositions Were not able to be completed until November 15 ,
201 7.

4. In light of that, all parties have agreed to a 15 day extension for the remaining
expert and discovery deadlines as follows: v

a. Defendants’ expert disclosure are due on or before Deeember 16, 2017;

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b. Defendants’ expert deposition(s) are due on or before January 17, 2018;
c. Plaintiffs’ rebuttal expert disclosure are due on or before January 31,
20 1 8;

d. All discovery to be completed on or before February 15, 2018.
5. The parties also agree to add that Plaintiffs’ rebuttal experts must be deposed on or
before February 15, 2018.
6. This extension Will not compromise the current trial setting or effect any of the other
deadlines set forth in the current Arnended Scheduling Order.
WHEREFORE, the parties respectfully request the Court grant their Motion and extend
the expert deadlines as set forth above, and for all such other and further relief as this Court

deems proper and just.

SANDBERG PHOENIX & von GONTARD P.C.

Byr BOQMM

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& Kz'a Molors Manufacmring Georgia, Inc.

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COZEN O’CONNOR

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Attorneyfor Plaintiffs

Certificate of Service

l hereby certify that on this 20th day of November 2017 the foregoing was filed
electronically With the Clerk of the Court to be served by operation of the Court’s electronic
filing system upon the following:

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STEPHENAND KATHRYN BROWN,

V.

KIA MOTORS AMERICA, INC. a
subsidiary ofKIA MOTORS
CORPORA TION,

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN~DISTRICT OF MISSOURI
EASTERN DIVISION

Plaintiffs,
No. 4:16-cv-00755-AGF

Defendant.

 

ORDER

Pursuant to the parties’ Joint Motion to Amend Scheduling Order Deadlines,

IT IS HEREBY ORDERED that the following amendments be made. All other portions

of the February 16, 2017 Amended Scheduling Order to remain as is:

I.

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SCHEDULING PLAN

2.

Disolosure shall proceed in the following manner:

a. Plaintiffs’ rebuttal experts shall be disclosed no later than Janua§y
312 2018, and shall make rebuttal experts available for deposition, and
have depositions completed, no later than February 15, 2018.

b. Defendant shall disclose all expert witnesses and shall provide the
summaries and reports required by Rule 26(a)(2)(B') and (C), Fed. R. Civ.
P., no later than December 16, 2017, and shall make expert witnesses
available for depositions, and have depositions completed, no later than

Januag; 17, 2018.

e. The parties shall complete all discovery in this case no later than
Februal_'y 15z 2018.

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AUDREY G. FLEISSIG
UNITED STATES DISTRICT JUDGE

Dated this day of , 2017 .

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